            Case 19-27068-SLM                       Doc 111 Filed 01/25/25 Entered 01/26/25 00:18:49                                    Desc
                                                  Imaged Certificate of Notice Page 1 of 5

Information to identify the case:
Debtor 1
                       Joseph A. DeNola                                          Social Security number or ITIN   xxx−xx−7611
                                                                                 EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                         Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                              EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of New Jersey

Case number:          19−27068−SLM

Order of Discharge                                                                                                              12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Joseph A. DeNola


               1/23/25                                                     By the court: Stacey L. Meisel
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                             Most debts are discharged
                                                                           Most debts are covered by the discharge, but
Creditors cannot collect discharged debts                                  not all. Generally, a discharge removes the
                                                                           debtors' personal liability for debts provided for
This order means that no one may make any                                  by the chapter 13 plan.
attempt to collect a discharged debt from the
debtors personally. For example, creditors cannot                          In a case involving community property: Special
sue, garnish wages, assert a deficiency, or                                rules protect certain community property owned
otherwise try to collect from the debtors personally                       by the debtor's spouse, even if that spouse did
on discharged debts. Creditors cannot contact the                          not file a bankruptcy case.
debtors by mail, phone, or otherwise in any
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                              Some debts are not discharged
debtors damages and attorney's fees.                                       Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that                             ♦ debts that are domestic support
lien unless the lien was avoided or eliminated. For                               obligations;
example, a creditor may have the right to foreclose
a home mortgage or repossess an automobile.
                                                                                ♦ debts for most student loans;
This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).
                                                                                ♦ debts for certain types of taxes specified
                                                                                  in 11 U.S.C. §§ 507(a)(8)( C),
                                                                                  523(a)(1)(B), or 523(a)(1)(C) to the
                                                                                  extent not paid in full under the plan;




                                                                                      For more information, see page 2>



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    ♦ debts that the bankruptcy court has                  ♦ debts for restitution, or damages,
      decided or will decide are not discharged              awarded in a civil action against the
      in this bankruptcy case;                               debtor as a result of malicious or willful
                                                             injury by the debtor that caused
                                                             personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,             death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                           ♦ debts for death or personal injury
                                                             caused by operating a vehicle while
    ♦ some debts which the debtors did not                   intoxicated.
      properly list;

                                                      In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §            creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment        is also liable on the debt, such as an insurance
      or other transfer is due after the date on      company or a person who cosigned or
      which the final payment under the plan          guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases             This information is only a general
      made after the bankruptcy case was filed if      summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of        exceptions exist. Because the law is
      incurring the debt was practicable but was       complicated, you should consult an
      not obtained;                                    attorney to determine the exact effect of
                                                       the discharge in this case.




Form 3180W                               Chapter 13 Discharge                         page 2
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 19-27068-SLM
Joseph A. DeNola                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jan 23, 2025                                               Form ID: 3180W                                                            Total Noticed: 28
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 25, 2025:
Recip ID                   Recipient Name and Address
db                     +   Joseph A. DeNola, 989 Garibaldi Pl., Township of Washington, NJ 07676-4120
518445830              +   Dept. of Education/Navient, PO Box 82561, Lincoln, NE 68501-2561
518445834              +   Mr. Cooper, PO Box 7729, Springfield, OH 45501-7729
518445837              +   Nationwide Credit, Inc., PO Box 26314, Lehigh Valley, PA 18002-6314
518445839              +   Teaneck Emergency Physicians, 718 Teaneck Rd., Teaneck, NJ 07666-4245

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jan 23 2025 21:02:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jan 23 2025 21:02:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + EDI: AISACG.COM
                                                                                        Jan 24 2025 01:37:00      BMW Bank of North America, 4515 N Santa Fe
                                                                                                                  Ave. Dept. APS, Oklahoma City, OK 73118-7901
cr                     + EDI: AIS.COM
                                                                                        Jan 24 2025 01:37:00      BMW Financial Services NA, LLC Department,
                                                                                                                  C/O AIS, 4515 N Santa Fe Ave, Dept. APS,
                                                                                                                  Oklahoma City, OK 73118-7901
518445825              ^ MEBN
                                                                                        Jan 23 2025 20:50:07      AmeriFinancial Solutions, LLC, PO Box 65018,
                                                                                                                  Baltimore, MD 21264-5018
518445823              + Email/PDF: bncnotices@becket-lee.com
                                                                                        Jan 23 2025 21:21:09      American Express, PO Box 981537, El Paso, TX
                                                                                                                  79998-1537
518445824                  Email/PDF: bncnotices@becket-lee.com
                                                                                        Jan 23 2025 21:21:29      American Express, PO Box 315111, Salt Lake
                                                                                                                  City, UT 84131
518500712                  Email/PDF: bncnotices@becket-lee.com
                                                                                        Jan 23 2025 20:59:13      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern PA 19355-0701
518452825              + EDI: AISACG.COM
                                                                                        Jan 24 2025 01:37:00      BMW Bank of North America, AIS Portfolio
                                                                                                                  Services, LP, 4515 N Santa Fe Ave. Dept. APS,
                                                                                                                  Oklahoma City, OK 73118-7901
518445827                  EDI: BMW.COM
                                                                                        Jan 24 2025 01:37:00      BMW Financial Services, PO Box 3608, Dublin,
                                                                                                                  OH 43016
518523575              + EDI: BMW.COM
                                                                                        Jan 24 2025 01:37:00      BMW Financial Services, 1400 City View Drive,
                                                                                                                  Columbus, OH 43215-1477
518445826              + EDI: BANKAMER
                                                                                        Jan 24 2025 01:37:00      Bank of America, 4909 Savarese Circle. Fl. 1,
                                                                                                                  Tampa, FL 33634-2413
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District/off: 0312-2                                               User: admin                                                             Page 2 of 3
Date Rcvd: Jan 23, 2025                                            Form ID: 3180W                                                        Total Noticed: 28
518557615                EDI: BANKAMER
                                                                                   Jan 24 2025 01:37:00     Bank of America, N.A., PO BOX 31785, Tampa,
                                                                                                            FL 33631-3785
518445829             + Email/PDF: bankruptcy_prod@navient.com
                                                                                   Jan 23 2025 21:21:09     Dept. of Education/Navient, 123 Justison St. 3rd
                                                                                                            Fl., Wilmington, DE 19801-5360
518445828             + EDI: MAXMSAIDV
                                                                                   Jan 24 2025 01:37:00     Dept. of Education/Navient, PO Box 9635, Wilkes
                                                                                                            Barre, PA 18773-9635
518445831             + EDI: IRS.COM
                                                                                   Jan 24 2025 01:37:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
518563865             + EDI: AISMIDFIRST
                                                                                   Jan 24 2025 01:37:00     MidFirst Bank, 999 NorthWest Grand Boulevard,
                                                                                                            Oklahoma City, OK 73118-6051
518445832             + EDI: AISMIDFIRST
                                                                                   Jan 24 2025 01:37:00     Midland Mortgage, PO Box 268888, Oklahoma
                                                                                                            City, OK 73126-8888
518445833             + Email/Text: nsm_bk_notices@mrcooper.com
                                                                                   Jan 23 2025 21:01:00     Mr. Cooper, 8950 Cypress Waters Blvd., Coppell,
                                                                                                            TX 75019-4620
518445835             + Email/Text: bankruptcy@nccva.com
                                                                                   Jan 23 2025 21:01:00     Nationwide Credit Corp, 5503 Cherokee Ave.,
                                                                                                            Alexandria, VA 22312-2307
518476251                Email/Text: NJTax.BNCnoticeonly@treas.nj.gov
                                                                                   Jan 23 2025 21:00:00     NJ Division of Taxation,
                                                                                                            Compliance/Enforcement, Bankruptcy Unit, 50
                                                                                                            Barrack St., 9th Fl., PO Box 245, Trenton, NJ
                                                                                                            08695
518478666             + Email/Text: ElectronicBkyDocs@nelnet.studentaid.gov
                                                                                   Jan 23 2025 21:02:00     U.S. Department of Education c/o Nelnet, 121
                                                                                                            South 13th Street, Suite 201, Lincoln, NE
                                                                                                            68508-1911
518550586             + EDI: AIS.COM
                                                                                   Jan 24 2025 01:37:00     Verizon, by American InfoSource as agent, 4515
                                                                                                            N Santa Fe Ave, Oklahoma City, OK 73118-7901

TOTAL: 23


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
518445836       ##+           Nationwide Credit, Inc., PO Box 14581, Des Moines, IA 50306-3581
518445838       ##+           Pioneer Credit Recovery Inc., PO Box 500, Horseheads, NY 14845-0500

TOTAL: 0 Undeliverable, 0 Duplicate, 2 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 25, 2025                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 23, 2025 at the address(es) listed
below:
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District/off: 0312-2                                     User: admin                                                     Page 3 of 3
Date Rcvd: Jan 23, 2025                                  Form ID: 3180W                                                Total Noticed: 28
Name                      Email Address
Denise E. Carlon
                          on behalf of Creditor MidFirst Bank dcarlon@kmllawgroup.com bkgroup@kmllawgroup.com

Kevin Gordon McDonald
                          on behalf of Creditor MidFirst Bank kmcdonald@kmllawgroup.com bkgroup@kmllawgroup.com

Marie-Ann Greenberg
                          magecf@magtrustee.com

Marie-Ann Greenberg
                          on behalf of Trustee Marie-Ann Greenberg magecf@magtrustee.com

Regina Cohen
                          on behalf of Creditor BMW Bank of North America rcohen@lavin-law.com mmalone@lavin-law.com

Susan S. Long
                          on behalf of Debtor Joseph A. DeNola susan@susanlonglaw.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 7
